THE STATE OF TEXAS                                 FELONY                          WARRANT OF ARREST
                 vs                                                                rant No. F2220057
LEE JARED OWEN


                                                                D

To any Sheriff, Constable or e e fficer of the State of Texas, Greetings: You are Hereby
Commanded to Arrest                 RED OWEN           if to be found in your County and bring
Him/Her before me, a Justice of the Peace in and for Precinct 2 of Midland County, Texas, at
my office in Midland in said County, immediately, to then and there answer the State of Texas
for an offense against the laws of said State, to-wit:

        FAIL TO REPORT W/INTENT TO CONCEAL THE ABUSE OR NEGLECT

of which offense He/She, LEE, JARED OWEN is accused by the written complaint, under
oath, of MPD J ALONZO filed before me.
       Herein Fail Not, but of this writ make due return, showing how you have executed the
same.
       Witness my official signature, this the 16th day of February 2022


$    -5'. ooV
          BOND
                                                                     r;:a~ °"-
                                                                  DAVID M. COBOS
MUST BE MAGISTRATED PRIOR                                         Justice of the Peace, Pct 2
TO RELEASE ON BOND                                                Midland County, Texas


Come to hand the _ _ _ day of _ _ _ __ , 20_,at _ _ _ o'clock _ _.M., and executed on the _ _ _
day of                    , 20_, at           o'clock _ _.M., by arresting the within names
_ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ _ _ _ _ _ _ _ in
_ _ __ _ _ _ County, Texas, and Taking his bond or Placing him in Jail at _ _ _ _ _ _ __
        I actually and necessarily traveled _ _ miles in the service of this writ, in addition to any other mileage I may
have traveled in the service of other process in this cause during the same trip.

FEES    -       Making Arrest ............ $ _ _ __ _
                Mileage ....................... $_ __ __                  Sheriff/ Constable
                Taking Bond ............... $_ __ __
                Commitment.. ............. $_ __ __                       _ _ _ _ _ _ _County, Texas
                Release ........................ $- - - - -
                                                                          by _ _ _ _ _ _ _ _Deputy
                TOTAL ....................... $_ _ _ __




                                                  Exhibit 3-001
OFFENSE: FAILURE TO REPORT

.J.P.#:             fJ.~tJO!J'7
DATE:          Fehruan• 16, 2022

HOND:                  · _o
               $~_5__,co~ ___
IN THE NAME AND BY THE AUTHORITY OF THE STATE                         ()I,"'   TEXAS:

        BEFORE ME, the undersigned authority, on this day personally appeared affiant,
who after being by me first duly sworn, says on or about the 20th day of .JANUARY,
A.D. 2022 and before the making and filing of this complaint, in the County of Midland,
State of Texas,

                       .JARED OWEN LEI~
                                (Name of Defendant)

did then and the-                       use to believe that the physical and mental health
and welfare of . . . . . . . . . . . ., a child had been and may be adversely affected
by the offense of AGGl~AVAT•:D SEXUAL ASSAULT, and the said then and there
knowingly as a professional failed to report as provided by law, and has a duty to report
under 261. l0l(a) of the Texas Family Code, and is a state jail felony under 261.109 (c) of
the Texas Family Code, the actor intended to conceal the abuse or neglect

against the peace and dignity of the State.




          Sworn to and subscribed before me by anian , a credible person, on this the   J_L
day of 1-P.b   , A.O . 20]..~


                                                         JUSTICE OF THE PEACE

                                                         Precinct   J--J Placc_ __

                                                         Midland County, Texas

                                                         Time Filed: - - - -- --




                                    Exhibit 3-002
                          AFFIDAVIT FOR ARREST WARRANT

                                          J.P.#     YJ//JliJ.5?
THE ST A TE OF TEXAS
COUNTY OF MIDLAND                                                                   Casc#220128019
The undersigned nfliant, being a peace officer under the laws of Texas, and being duly sworn,
on oath, makes the following statement and accusation:

1. Suspected Party: Jared Lee Owen, WM DOB ~                    Brown Hair, Blue Eyes, 6'1", 180LBS, TXDL


2. It is the belicr'of Affiant, and he hereby charges and accuses, that said suspected party has
committed the following offense: FAILURE TO REPORT TEXAS FAMILY CODE SECTION 261.109(C)
(STATE JAIL FELONY) ON OR ABOUT JANUARY 2QTH, 2022 AT MIDLAND CHRISTIAN SCHOOL LOCATED
AT 2001 CULVER IN MIDLAND, IN THE COUNTY OF MIDLAND, TEXAS.

3. Affiant has probable cause for said belief by reason of the following facts, to wit:

The affiant Jennie/\ lonzo is a Detective with City of Midland Police Department and is currently assigned lo
the Crime Against Persons Division in the Investigative Service Bureau. /\ffiant has been employed with the
Midland Police Department for 9 years.

On Friday, January 28, 2022, I, Detective Alonzo was the on-call Crimes Against Persons Detective and
was notified in reference to a possible sexual assault of a child that occurred at Midland Christian School.
I was further advised that the assault did not just occur. The incident was reported to have occurred on or
about Thursday, January 20 th , 2022, during baseball practice at Max l·I. Christensen Stadium located at
4300 N. Lamesa.

I contacted the victim,                  WM DOB                  nd his mother Veronica Costilla in
reference to the incident. orcns1c 111tcrview was scheduled for Friday, February 11, 2022, at the
Children's Advocacy Center.




                                          Exhibit 3-003
-                 over onto his back and put a bat in his butt. -           c.xplaincd that he was wearing white
        baseball pants when~        put the~        his butt. Wh~           t was pushed into his butt, his pants and
        underw ·ar were pus~        s wcll. - .e stated that        he co~           e knob of the bat in his butt.
                    xplaincd that when he foll the bat, it was felt hard. -          stated that when he got up his bun
        hurt, and it was sore.

      Radhi exited the interview for a break. When Radhi rctumed to the interview room, she clarified with
    -              vhat had happened with th                   ·tated that the bat went into his butt. -        stated
      that it felt like something poking hirn             stated that his underwear  was  pushed   in his hutt.
                  stated that it felt like something was poking through his pants, puncturing his butt. -
      stated that his hands were behind his back.

    -             lated that he secs         now. The two of them sec each other every day as they arc on the
        same baseball team.

        On Friday, February I I, 2022, SGT R. Sharp and I went to Midland Christian School located 111 2001
        Culver Dr. to speak with the Superintendent of the school, which is Jared Owen Lee (WM DOB
                    . Lee was out of the office. However, I spoke with Dana Elizabeth F · ·
                     who is the second      chool principal. I requested fi:)r Ellis to have ,
        m       . /\fter some  time,         came to the ollicc and was later transported to t
        Department.

     While spea~          llis, she advised me that she was av,•are of an investigation into the incident between
               nd -       · Ellis stated that she knew it had been documented. I requested copies of the
    -      ncntation. However,    Ellis stated that Lee had the documentation pertaining lo the incident and she
     did not have access lo it. I requested that the documents be sent to me on Monday February 14, 2Q22. It
     was discovered that on Thursday, January 20, 2022, Ellis was notified in reference to a sexual assault that
     had occurred. Ellis stated she knew of the incident on January 20, 2022, that a one of baseball players had
     a baseball bat shoved into his anus. On January 21, 2022, Ellis notified Lee in reference to the student
     having a baseball bat shoved up his an ~               he was aware on that date. At that time I~
     Gregory Neal McClcndon {WM DOB _                      ,md Matthew David Counts (WM DOB. _ to
     conduct an "investigation" into the incident instead of notifying law enforcement or another state agency
     listed in Texas Family Code section: 261.101. I provided her with my card with my contact information.

        On February 14, 2022, I received a call from Lee who stated that he would not provide the documentation
        and refused to answer any questions during the call, he requested a search warrant.

        It should be noted that in the original report, Officer Fonseca listed that he spoke with Lee on January 28,
        2022. During this interaction, Lee stated that their investigation found the baseball bat did in fact touch
                    anus but did not go inside.

        A search warrant was applied for and granted. The search warrant was served on February 14, 2022, at
        Midland Christian School.

        During the course of the investigation, it was found that the following individuals employed with Midland
        Christian School had knowledge of the sexual assault on January 21, 2022 - Jared 0. Lee who is the
        Superintendent of Midland Christian, Dana E. Ellis who is the Principal of the Secondary School,
        Matthew D. Counts who is the Vice Principal of the Sec~               ol, Gregory N. McClcndon who is
        the Athletic Director, and Barry Lee Russell (WM                       who is one of the baseball coaches.
        These individuals who arc administrators and teachers at Midland Christian School are required by Texas
                                                               2




                                                   Exhibit 3-004
Family Code:261.10 I lo report the incident to authorities. Instead of reporting the incident they have
continually attempted to conceal the incident or abuse from authorities. The above listed staff members of
the school conducted their own "investigation" although they had knowledge of the sexual assault.

During the search at Midland Christian School, I was given documents by Lee. These were described as
"notes" from McClcndon and Counts. There was no documentation, These documents were created either
February ~            nts and February 12th by McClendon. In these notes, there was documentation 1hat
describes ,_          anus was touched with the baseball bat. However, McClendon and Counts both
stated that on February 14, 2022, during separate interviews tha1 this was most of the information 1hcy
could remember (inlcrvicws with students) since the incident occurred three weeks ago. None of the
students were interviewed by a forensic interviewer. The victim did 1101 have a forensic interview, nor did
he have a SANE done at that time due to law enforcement not being notified of the incident.

J was also given emails that contained communication between the initial complainant, Lee, Ellis, Counts,
McClendon, and Russell. In the emails it was made very clear that a sexual assault had occurred, and the
school had a duty to report. The complainant told the school administration if they did not report the
incident, he would have to as a mandatory/professional reporter. There were multiple emails exchanged.
Several of the administrators refused to report the incident as shown in emails when communicating and
responding to the complainant.

The above listed administrators of Midland Christian School failed to report the abuse under Texas
Family Code Section: 261.109 in an altcmpt to conceal the allegation of a fellow student/baseball player
who sexually assaulted another student/baseball player (victim) with a baseball bat.

On this date, February 16, 2022, a warrant will be issued for the following - Jared Owen Lee, Dana
Elizabeth Ellis, Gregory Neal McClendon, Matthew David Counts, and Barry Lee Russell for Failure to
Report (State Jail Felony).

ALL THE FACTS CONTAINED HEREIN ARE SUBSEQUENT TO AND GATHERED THROUGH OFFICIAL POLICE
REPORTS AND FROM THE CRIMINAL INVESTIGATION CONDUCTED BY DETECTIVE JENNIE ALONZO OF THE
MIDLAND POLICE DPEARTMENT. THE ABOVE EVENTS OCCURRED IN THE CITY AND COUNTY OF MlDLAND,
TEXAS AND ARE TRUE AND CORRECT TO THE BEST OF AFFIANT'S KNOWLEDGE.

:~:;cforc, afliant asks for an issuance of a Warr.int that will authoriic hcr ~to. rc~s( saiod suspected


                                                                    Affiant=--
                                                                            - ..-. /\-~- z      . .q..._?J
                                                                                                  . ..........ti'...,....i
Subscribed and sworn to before me by said Alfomt on this the I 6T 11 day of Fchruarv 2022 .




Time
     - - ---                                                      •Justice of the Peace
                                                                  Precinct# -Z......
                                                                  Midlund County, Texas



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                                         Exhibit 3-005
